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 9                      UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
     JULIE DERMANSKY, an individual,           Case No.: 2:21-cv-02838-PA-AGR
12                                             Hon. Percy Anderson Presiding
13
     Plaintiff,

14   v.                                        ORDER ON STIPULATION
                                               TO DISMISS ACTION WITH
15                                             PREJUDICE
     PENSKE MEDIA CORPORATION, et al.,
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     Defendants.

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                                    [PROPOSED] ORDER
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 1                                [PROPOSED] ORDER:
 2        FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY
 3   ORDERED:
 4
          1.    The action is dismissed with prejudice; and
 5
          2.    The parties will each bear their respective costs and attorneys’ fees as
 6
                incurred against one another in connection with this action.
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          SO ORDERED.
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10   Dated: November 3, 2021              By: ________________________________
                                                   PERCY ANDERSON
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                                           UNITED STATES DISTRICT JUDGE
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                                      [PROPOSED] ORDER
